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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


COMMONWEALTH OF PENNSYLVANIA, et al.,

                                   Plaintiffs,

             v.

MIGUEL CARDONA, in his official capacity as                 Civil Action No. 20-cv-01468-CJN
Secretary of Education, et al.,

                                 Defendants,

             and

FOUNDATION FOR INDIVIDUAL RIGHTS
IN EDUCATION, et al.,

                                 Intervenor-Defendants.


                                    JOINT STATUS REPORT
        On May 3, 2024, the parties filed a joint status report requesting that the Court continue

the present stay of all pending briefing deadlines and hold this case in abeyance until June 17,

2024. Joint Status Report at 2, ECF No. 197. The parties have met and conferred and now

respectfully file this further Joint Status Report.

        1.        This case involves an Administrative Procedure Act challenge to a rule issued by
the U.S. Department of Education, 85 Fed. Reg. 30,026 (May 19, 2020) (“the rule”). On April 29,

2024, the Department promulgated a Final Rule that amended the rule. See Dep’t of Education,

Final Rule, Nondiscrimination on the Basis of Sex in Education Programs or Activities Receiving

Federal Financial Assistance, 89 Fed. Reg. 33,474 (Apr. 29, 2024).

        2.        On April 25, 2024, Plaintiffs Pennsylvania, New Jersey, California, Colorado,

Delaware, District of Columbia, Illinois, Massachusetts, Michigan, Minnesota, Nevada, New

Mexico, North Carolina, Oregon, Rhode Island, Vermont, Virginia, and Washington voluntarily

dismissed their claims in this action pursuant to Fed. R. Civ. P. 41(a)(2). See Pls.’ Mot. to

Voluntarily Dismiss, ECF No. 194 (Apr. 25, 2024); Plaintiff Virginia’s Motion to Voluntarily


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Dismiss, ECF No. 195 (Apr. 25, 2024). The sole remaining plaintiff, Wisconsin, has also

dismissed its claims. See State of Wisconsin’s Motion to Voluntarily Dismiss, ECF No. 198 (June

14, 2024).

       3.      All Plaintiffs have now moved to voluntarily dismiss all claims against Defendants.

Accordingly, the parties respectfully request that the Court dismiss this action.

 Date: June 14, 2024
                                                Respectfully submitted,

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